            Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 1 of 19



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Attorneys for Plaintiff
RHINO METALS, INC.

                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

RHINO METALS, INC., an Idaho                    )    Case No.
corporation,                                    )
                                                )    COMPLAINT
        Plaintiff,                              )
v.                                              )    JURY DEMANDED
                                                )
STURDY GUN SAFE, INC., a California             )
corporation,                                    )
                                                )
        Defendant.                              )
                                                )


       Plaintiff Rhino Metals, Inc. (“Rhino”), by and through its attorneys, Holland & Hart LLP,

for its Complaint against Defendant Sturdy Gun Safe, Inc. (“Defendant”) alleges, on knowledge

as to its own actions, and otherwise upon information and belief, as follows:

                               PRELIMINARY STATEMENT

       1.      This is an action for purposeful and willful infringement of Rhino’s

IRONWORKS™ intellectual property rights, which constitutes unfair competition and false

designation of origin under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), and for

substantial and related claims under the statutory and common laws of Idaho, all arising from

Defendant’s unauthorized use of the IRONWORKS™ intellectual property rights in connection




COMPLAINT AND DEMAND FOR JURY TRIAL - 1
            Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 2 of 19



with the manufacture, distribution, marketing, advertising, promotion, offering for sale, and/or

sale of Defendant’s gun safes.

       2.      Rhino seeks injunctive and monetary relief.

                                         JURISDICTION

       3.      Because this action arises under the Federal Lanham Act, asserts substantially

related claims arising under state law, and seeks damages in excess of $75,000 between citizens

of different states, this court has subject matter jurisdiction over this action pursuant to 15 U.S.C.

§ 1121, 28 U.S.C. §§ 1331, 1332(a), and 1338(a) and (b), and pursuant to the principles of

supplemental jurisdiction under 28 U.S.C. § 1367.

       4.      Defendant is subject to personal jurisdiction in this judicial district in that it has

sufficient minimum contacts with this judicial district, for reasons including but not limited to

the fact that Defendant has purposefully directed its actions at the state of Idaho by willfully

infringing Rhino’s intellectual property rights, in addition to other actions; Defendant’s conduct

has caused harm, and continues to cause harm, to Rhino in this judicial district; and the exercise

of jurisdiction over Rhino is reasonable under the circumstances.

                                              VENUE

       5.      Venue is proper in this judicial district at least under 28 U.S.C. § 1391(b) and (c)

because Defendant is deemed to reside in this judicial district as it is subject to personal

jurisdiction in this district with respect to this action and, moreover, because a substantial part of

the events or omissions giving rise to the claim occurred in this district.

                                             PARTIES

       6.      Rhino is an Idaho corporation with its principal place of business at 607 Garber

Street, Caldwell, Idaho 83605.




COMPLAINT AND DEMAND FOR JURY TRIAL - 2
            Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 3 of 19



       7.      Upon information and belief, Defendant is a California corporation with its

principal place of business at 2030 S. Sarah Street, Fresno, California 93721.

                                 FACTUAL ALLEGATIONS

       A.      Rhino and its Distinctive IRONWORKS™ Gun Safes

       8.      Rhino is a U.S.-owned manufacturing company founded by Don Suggs in

Caldwell, Idaho, in 1995. Rhino is in the business of manufacturing and selling metal gun safes,

toolboxes, and the like.

       9.      Initially, Rhino began as a small-town metal fabrication job shop. In 1999, Mr.

Suggs’s father asked him to make a gun safe. His father wanted a way to keep his firearms out

of the reach of his grandchildren. Mr. Suggs researched existing gun safe designs, developed his

own design, and then built a small production run to test the market.

       10.     Rhino’s gun safes were extremely successful, and, by 2006, Rhino’s gun safes

were being nationally distributed through Tractor Supply Company, a retail chain with locations

across the United States. By 2008, Rhino’s gun safe products were being widely distributed

through Costco Wholesale. Today, Rhino has matured and grown into a large, well-known

manufacturer distributing gun safes throughout the United States and Canada. Gun safe brands

currently sold by Rhino include the RHINO™, KODIAK™, and IRONWORKS™ brands.

       11.     In addition to selling its products through direct-to-consumer retail and other

distribution channels, Rhino is also an Original Equipment Manufacturer (OEM) of parts for

industry-leading companies in a wide variety of industries. Rhino’s manufacturing plant in

Caldwell, Idaho produces quality metal parts used in equipment and buildings all over the world.

       12.     Over the years, the company has introduced a number of industry-changing gun

safe innovations, including the Swingout Rack and the beautiful IRONWORKS™ product lines.




COMPLAINT AND DEMAND FOR JURY TRIAL - 3
          Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 4 of 19



As a result, Rhino is now one of the leading U.S. gun safe manufacturers in terms of innovation,

quality, and customer service.

       13.     Rhino’s IRONWORKS™ gun safes were first introduced in 2013 and have been

advertised and sold on a nationwide basis ever since. Rhino’s IRONWORKS™ gun safes have

achieved significant sales and have become Rhino’s most commercially-successful products.

       14.     Rhino’s IRONWORKS™ gun safes are manufactured with a distinctive antique

look and feel, including distressed metal surfaces designed to accentuate the natural grain of the

steel, as well as decorative metal plates and rivets. The foregoing features, both individually and

collectively, constitute the IRONWORKS™ DESIGN FEATURES, as that term is used herein.

One example of a Rhino IRONWORKS™ gun safe, the IRONWORKS™ CIWD6040X 60" H x

40" W x 25" D gun safe, is shown below:




COMPLAINT AND DEMAND FOR JURY TRIAL - 4
          Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 5 of 19



       15.     The IRONWORKS™ DESIGN FEATURES are not essential to the use or

purpose of the IRONWORKS™ gun safes and do not affect their quality or reduce their cost.

Rather, the features are non-functional and cosmetic. Because the IRONWORKS™ DESIGN

FEATURES are non-functional and cosmetic, competitors are free to manufacture and sell gun

safes having different design features, and, in fact, there are any number of gun safes having

different design features that have been and continue to be commercially successful in the

marketplace.

       16.     Since the introduction of Rhino’s IRONWORKS™ gun safes in 2013, Rhino has

used the IRONWORKS™ DESIGN FEATURES in commerce throughout the United States

continuously in connection with its manufacture, distribution, provision, offering for sale, sale,

marketing, advertising and promotion of safes and gun safes. For example, Rhino has

advertised, marketed, and promoted IRONWORKS™ gun safes and the IRONWORKS™

DESIGN FEATURES extensively throughout the United States since 2013.

       17.     When Rhino introduced its IRONWORKS™ gun safes in 2013, Rhino was the

only gun safe manufacturer making and selling gun safes having design features resembling the

IRONWORKS™ DESIGN FEATURES. Accordingly, consumers, manufacturers, distributors,

and sellers of gun safes rapidly came to associate these features with Rhino and recognize these

features as identifying Rhino’s gun safe products in particular.

       18.     Many third parties recognized and advertised the unique and one-of-a-kind look

of Rhino IRONWORKS™ gun safes having the IRONWORKS™ DESIGN FEATURES.

       19.     As a result of Rhino’s widespread, continuous, and exclusive use of the

IRONWORKS™ DESIGN FEATURES since 2013 to identify its goods and Rhino as their

source, Rhino owns valid and subsisting intellectual property rights related to the

IRONWORKS™ DESIGN FEATURES, which are distinctive to the consuming public.

COMPLAINT AND DEMAND FOR JURY TRIAL - 5
            Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 6 of 19



       20.     Rhino has expended substantial time, money, and resources marketing,

advertising, and promoting the goods sold under the IRONWORKS™ DESIGN FEATURES

including through its marketing, advertising, and promotional efforts and channels for goods or

services under its mark, which include but are not limited to advertising via print, conventions

and gun shows, and the Internet, including social media, and sales and distribution both directly

via, e.g., Rhino’s website, and indirectly via, e.g., third-party websites such as Amazon.com and

retailers throughout the United States and Canada.

       21.     Rhino’s IRONWORKS™ gun safe products and their IRONWORKS™ DESIGN

FEATURES are of high quality, and as a result of Rhino’s expenditures and efforts, the

IRONWORKS™ DESIGN FEATURES have come to signify the high quality of Rhino’s

IRONWORKS™ products, and have acquired incalculable distinction, reputation, and goodwill

belonging exclusively to Rhino.

       B.      Defendant’s Unlawful Activities

       22.     Upon information and belief, Defendant is engaged in the business of

manufacturing, selling, and repairing safes, and gun safes in particular.

       23.     Upon information and belief, Defendant markets and sells its gun safes at least

directly, through its commercial website, social media websites, and third-party websites such as

Amazon.com.

       24.     Defendant’s business, therefore, directly competes and significantly overlaps with

Rhino’s, at least in that Defendant sells the same kinds of gun safe products to the same kinds of

gun safe consumers through similar sales channels, using the same types and channels of

advertising and marketing.

       25.     In 2017, without Rhino’s authorization, and well after Rhino had acquired

protectable exclusive rights in its IRONWORKS™ DESIGN FEATURES, Defendant adopted

COMPLAINT AND DEMAND FOR JURY TRIAL - 6
            Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 7 of 19



and began using nearly identical design features on certain gun safes sold in United States

commerce (the “Infringing Goods”). The Infringing Goods include all gun safes that Defendant

markets and sells with the following “finishes”: (1) “Distressed Metal”; (2) “Antique Clear”; (3)

“Antique Chest”; and (4) “Old Hollywood.”

          26.   The overall look and feel of the Infringing Goods adopted and used by Defendant

is identical to and/or confusingly similar to Rhino’s IRONWORKS™ DESIGN FEATURES.

          27.   Like Rhino’s IRONWORKS™ products, the Infringing Goods have an antique

look and feel achieved at least in part by using distressed metal surfaces, decorative metal plates,

and/or decorative rivets, and they attempt to replicate the distinctive IRONWORKS™ DESIGN

FEATURES in an effort to exploit the significant commercial success experienced by Rhino’s

IRONWORKS™ gun safes.

          28.   Upon information and belief, Defendant has been engaged in the manufacture,

distribution, provision, advertising, promotion, offering for sale, and sale of Infringing Goods

since approximately July 2017—approximately four years after the IRONWORKS™ products

were introduced into the marketplace by Rhino.

          29.   On or about July 13, 2017, Defendant’s Facebook page,

www.facebook.com/sturdygunsafe/, announced a “NEW FINISH OPTION!” that it was

“prototyping” with “a distressed look,” metal plates in the corner regions, and a “weld rivet

design.” Defendant provided the following image of a gun safe with this “distressed look” finish

option:




COMPLAINT AND DEMAND FOR JURY TRIAL - 7
          Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 8 of 19




       30.     Immediately, viewers of Defendant’s Facebook post recognized that the

Infringing Goods constituted an intentional copy of Rhino’s IRONWORKS™ gun safes. In

response to these comments, Defendant expressly acknowledged the “similarities” between the

Infringing Goods and Rhino’s products, which it admitted were “cosmetic,” and it did not

dispute that it had intentionally copied the IRONWORKS™ DESIGN FEATURES. Defendant

instead attempted to distinguish itself by price on the basis of steel thickness. A copy of this

exchange on Facebook appears below:




COMPLAINT AND DEMAND FOR JURY TRIAL - 8
          Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 9 of 19




       31.     In the same July 2017 Facebook exchange, Defendant also admitted the

following:




       32.     In an August 30, 2018 Facebook post, Defendant showed a picture of one of its

gun safes having a distressed metal exterior, but lacking decorative metal plates and rivets,

explaining that it was a “special order” under which the customer saved money “by not getting

the added plates . . . and rivets around the top and bottom of the body,” confirming again that the

IRONWORKS™ DESIGN FEATURES that it had copied are merely cosmetic options,

unnecessary to the operation of the gun safes, and non-functional.



COMPLAINT AND DEMAND FOR JURY TRIAL - 9
         Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 10 of 19



       33.     Additionally, until recently Defendant’s website included a blog entry dated

July 7, 2018, entitled “Best Looking Safes Currently on the Market.” That blog entry, which has

since been deleted, stated:

               Being in the gun safe industry as long as we have makes us
               very knowledgeable about our competitors and what they have
               to offer, which includes the ones we feel are the most attractive.

               One can say we are queer about good looking safes and have
               kept a collection of favorites we will be sharing with you now.

               As you will see below, the ones we favor the most have unique
               looking features that go beyond the standard high gloss finish
               that is usually seen.

(Emphases added.) Defendant’s blog entry then depicted some of Defendant’s Infringing

Products, stating that their finishes were “unique and alluring,” and that the Infringing Products’

“looks are accomplished by adding various types of steel plate to the exterior of the body, as well

as, welds formed into heavy duty looking accent rivets.” Next, the blog entry expressly

compared the appearance of the Infringing Products to that of the Rhino IRONWORKS™ gun

safes, which had been sold in the market since 2013. The blog entry contained the following

image of Rhino IRONWORKS™ gun safes:




COMPLAINT AND DEMAND FOR JURY TRIAL - 10
         Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 11 of 19



       34.     The blog entry then stated:

               Kodiak or Rhino safes offer a similar look to Sturdy Safes
               Distressed Metal finish. They accomplish this look by welding
               thin steel plate with decorative rivets, then distress the body.


(Emphases added.)

       35.     After becoming aware of the Infringing Products and their unauthorized copying

of the IRONWORKS™ DESIGN FEATURES, on September 11, 2018, Rhino through its

counsel sent a cease and desist letter to Defendant objecting to Defendant’s use of the

IRONWORKS™ DESIGN FEATURES. To date, Defendant continues to advertise and sell the

Infringing Products.

       36.     Examples of the Infringing Products that are currently being sold on Defendant’s

commercial website, www.sturdysafe.com, are depicted below:




COMPLAINT AND DEMAND FOR JURY TRIAL - 11
         Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 12 of 19




       37.     Further, with respect to each of these four finishes, Defendant’s website states: “If

you ordered a package with a 3/16" thick plate added to the whole door, the safe will have weld

rivet detailing around the perimeter of the door.” Defendant’s Facebook page provides images

of Defendant’s Infringing Products with weld rivet detailing around the perimeter of the door,

one example of which is shown below:




COMPLAINT AND DEMAND FOR JURY TRIAL - 12
         Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 13 of 19



       38.     Defendant’s infringing acts as alleged herein have caused and are likely to cause

confusion, mistake, and deception among the relevant consuming public as to the source or

origin of the Defendant’s gun safes and have and are likely to deceive the relevant consuming

public into believing, mistakenly, that Defendant’s safes originate from, are associated or

affiliated with, or otherwise authorized by Rhino.

       39.     Defendant’s infringing acts as alleged herein have been willful with the deliberate

intent to trade on the goodwill of Rhino’s IRONWORKS™ DESIGN FEATURES, cause

confusion and deception in the marketplace, and divert potential sales of Rhino’s products to

Defendant.

       40.     Defendant’s acts are causing, and unless restrained, will continue to cause damage

and immediate irreparable harm to Rhino and to its valuable reputation and goodwill with the

consuming public for which Rhino has no adequate remedy at law.

                                          COUNT ONE

                   (Federal Trade Dress Infringement/Unfair Competition)

       41.     Rhino repeats and realleges each and every allegation set forth in the preceding

paragraphs of this Complaint.

       42.     The IRONWORKS™ DESIGN FEATURES constitute protectable trade dress

possessing secondary meaning because gun safe consumers associate those features with Rhino

as a source of goods.

       43.     Defendant intentionally copied the IRONWORKS™ DESIGN FEATURES when

it developed the Infringing Products.

       44.     Defendant’s unauthorized use in commerce of the IRONWORKS™ DESIGN

FEATURES in connection with the Infringing Goods as alleged herein is likely to deceive

consumers as to the origin, source, sponsorship, or affiliation of Defendant’s goods, and is likely

COMPLAINT AND DEMAND FOR JURY TRIAL - 13
            Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 14 of 19



to cause consumers to believe, contrary to fact, that Defendant’s goods are sold, authorized,

endorsed, or sponsored by Rhino, or that Defendant is in some way affiliated with or sponsored

by Rhino.

           45.   The IRONWORKS™ DESIGN FEATURES are non-functional.

           46.   Defendant’s unauthorized use in commerce of the IRONWORKS™ DESIGN

FEATURES in connection with the Infringing Goods as alleged herein constitutes unfair

competition, use of a false designation of origin, and misleading description and representation

of fact.

           47.   Upon information and belief, Defendant’s conduct as alleged herein is willful and

is intended to and is likely to cause confusion, mistake, or deception as to the affiliation,

connection, or association of Defendant with Rhino.

           48.   Defendant’s conduct as alleged herein constitutes unfair competition in violation

of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

           49.   Defendant’s conduct as alleged herein is causing immediate and irreparable harm

and injury to Rhino, and to its goodwill and reputation, and will continue to both damage Rhino

and confuse the public unless enjoined by this court. Rhino has no adequate remedy at law.

           50.   Rhino is entitled to, among other relief, injunctive relief and an award of actual

damages, Defendant’s profits, enhanced damages and profits, reasonable attorneys’ fees, and

costs of the action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117,

together with prejudgment and post-judgment interest.

                                            COUNT TWO

                 (Common Law Trade Dress Infringement/Unfair Competition)

           51.   Rhino repeats and realleges each and every allegation set forth in the preceding

paragraphs of this Complaint.

COMPLAINT AND DEMAND FOR JURY TRIAL - 14
         Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 15 of 19



       52.     Defendant’s conduct as alleged herein constitutes common law trade dress

infringement and unfair competition.

       53.     Defendant’s conduct as alleged herein is causing immediate and irreparable harm

and injury to Rhino, and to its goodwill and reputation, and will continue to both damage Rhino

and confuse the public unless enjoined by this court. Rhino has no adequate remedy at law.

       54.     Rhino is entitled to, among other relief, injunctive relief and an award of actual

damages, Defendant’s profits, enhanced damages and profits, reasonable attorneys’ fees, and

costs of the action, together with prejudgment and post-judgment interest.

                                         COUNT THREE

                             (Dilution Under Idaho Code § 48-513)

       55.     Rhino repeats and realleges each and every allegation set forth in the preceding

paragraphs of this Complaint.

       56.     The IRONWORKS™ DESIGN FEATURES constitute trade dress that is famous

in the state of Idaho within the meaning of Idaho Code § 48-513.

       57.     Subsequent to the IRONWORKS™ DESIGN FEATURES becoming famous in

state of Idaho, Defendant adopted substantially similar trade dress in connection with the

Infringing Goods, which will cause and/or has caused dilution of the distinctive quality of the

trade dress associated with the IRONWORKS™ DESIGN FEATURES in violation of Idaho

Code § 48-513.

       58.     Defendant’s acts were willfully intended to trade on Rhino’s reputation and to

cause dilution of Rhino’s trade dress.

       59.     Defendant’s conduct as alleged herein is causing immediate and irreparable harm

and injury to Rhino, and to its goodwill and reputation, and will continue to both damage Rhino

and confuse the public unless enjoined by this court. Rhino has no adequate remedy at law.

COMPLAINT AND DEMAND FOR JURY TRIAL - 15
             Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 16 of 19



        60.      Rhino is entitled to, among other relief, injunctive relief and an award of actual

damages, Defendant’s profits, enhanced damages and profits, reasonable attorneys’ fees, and

costs of the action under Idaho Code §§ 48-513 and 48-514, together with prejudgment and post-

judgment interest.

        WHEREFORE, Rhino requests judgment against Defendant as follows:

        1.       That Defendant has violated Section 43(a) of the Lanham Act (15 U.S.C. §

1125(a));

        2.       That Defendant has committed trade dress infringement and unfair competition

under Idaho’s common law;

        3.       That Defendant has violated Idaho Code § 48-513;

        4.       That Rhino is entitled to an injunction prohibiting the Defendant, its employees,

agents, officers, directors, attorneys, successors, affiliates, subsidiaries, and assigns, and all of

those in active concert and participation with any of the foregoing persons and entities who

receive actual notice of the Court’s order by personal service or otherwise from:

                 a.      manufacturing, distributing, providing, selling, marketing, advertising,

                        promoting, or authorizing any third party to manufacture, distribute,

                        provide, sell, market, advertise or promote the Infringing Goods or any

                        other goods or services having the IRONWORKS™ DESIGN

                        FEATURES or any other trade dress that is a counterfeit, copy,

                        simulation, confusingly similar variation, or colorable imitation of the

                        IRONWORKS™ DESIGN FEATURES;

                 b.      engaging in any activity that infringes Rhino’s rights in its

                        IRONWORKS™ DESIGN FEATURES;

                 c.      engaging in any activity constituting unfair competition with Rhino;

COMPLAINT AND DEMAND FOR JURY TRIAL - 16
            Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 17 of 19



                d.     making or displaying any statement, representation, or depiction that is

                       likely to lead the public or the trade to believe that (i) Defendant’s goods

                       or services are in any manner approved, endorsed, licensed, sponsored,

                       authorized, or franchised by or associated, affiliated, or otherwise

                       connected with Rhino, or (ii) Rhino’s goods are in any manner approved,

                       endorsed, licensed, sponsored, authorized, or franchised by or associated,

                       affiliated, or otherwise connected with Defendant;

                e.     using or authorizing any third party to use in connection with any

                       business, goods, or services any false description, false representation, or

                       false designation of origin, or any marks, names, words, symbols, devices,

                       or trade dress that falsely associate such business, goods and/or services

                       with Rhino or tend to do so;

                f.     registering or applying to register any trademark, service mark, domain

                       name, trade name, or other source identifier or symbol of origin consisting

                       of or incorporating the IRONWORKS™ DESIGN FEATURES or any

                       other mark that infringes or is likely to be confused with Rhino’s

                       IRONWORKS™ DESIGN FEATURES, or any other goods or services of

                       Rhino; and

                g.     aiding, assisting, or abetting any other individual or entity in doing any act

                       prohibited by sub-paragraphs (a) through (f);

       5.       That Rhino is entitled to such other and further relief as the Court may deem

proper to prevent the public and trade from deriving the false impression that any goods or

services manufactured, sold, distributed, licensed, marketed, advertised, promoted, or otherwise

offered or circulated by Defendant are in any way approved, endorsed, licensed, sponsored,

COMPLAINT AND DEMAND FOR JURY TRIAL - 17
            Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 18 of 19



authorized, or franchised by or associated, affiliated, or otherwise connected with Rhino or

constitute or are connected with Rhino’s goods;

       6.       That Defendant is ordered to immediately cease all manufacture, display,

distribution, marketing, advertising, promotion, sale, offer for sale and/or use of any and all

packaging, labels, catalogs, shopping bags, containers, advertisements, signs, displays, and other

materials that feature or bear any designation or mark incorporating the IRONWORKS™

DESIGN FEATURES or any other mark that is a counterfeit, copy, simulation, confusingly

similar variation, or colorable imitation of Rhino’s IRONWORKS™ DESIGN FEATURES, and

to direct all distributors, retailers, wholesalers, and other individuals and establishments

wherever located in the United States that distribute, advertise, promote, sell, or offer for sale

Defendant’s goods or services to cease forthwith the display, distribution, marketing, advertising,

promotion, sale, and/or offering for sale of any and all goods, services, packaging, labels,

catalogs, shopping bags, containers, advertisements, signs, displays, and other materials featuring

or bearing the IRONWORKS™ DESIGN FEATURES or any other mark that is a counterfeit,

copy, simulation, confusingly similar variation, or colorable imitation of the Rhino’s

IRONWORKS™ DESIGN FEATURES, and to immediately remove them from public access

and view;

       7.       That Defendant is ordered to recall and deliver up for destruction all of the

Infringing Goods, and any other goods, packaging, shopping bags, containers, advertisements,

[promotions, signs, displays, and related materials incorporating or bearing the IRONWORKS™

DESIGN FEATURES or any other mark that is a counterfeit, copy, confusingly similar

variation, or colorable imitation of Rhino’s IRONWORKS™ DESIGN FEATURES;

       8.       That Defendant is ordered to file with the Court and serve upon Rhino’s counsel

within thirty (30) days after service on Defendant of an injunction in this action, or such

COMPLAINT AND DEMAND FOR JURY TRIAL - 18
            Case 1:18-cv-00474-EJL Document 1 Filed 10/26/18 Page 19 of 19



extended period as the Court may direct, a report in writing under oath, setting forth in detail the

manner and form in which Defendant has complied therewith;

       9.       Awarding Rhino an amount three times the amount of its actual damages;

       10.      Awarding Rhino all profits realized by Defendant from its wrongful acts,

enhanced as appropriate to compensate Rhino for the damages caused thereby;

       11.      Awarding Rhino punitive and exemplary damages as the court finds appropriate

to deter any future willful infringement;

       12.      Awarding Rhino its costs and reasonable attorneys’ fees;

       13.      Awarding Rhino interest, including prejudgment and post-judgment interest, on

the foregoing sums; and

       14.      Awarding such other and further relief as the Court deems just and proper.

                                        JURY DEMAND

       Rhino demands trial to a jury on all issues so triable.

       DATED: October 26, 2018

                                            HOLLAND & HART LLP


                                            By /s/ Teague I. Donahey
                                               Teague I. Donahey

                                               Attorneys for Plaintiff
                                               RHINO METALS, INC.




COMPLAINT AND DEMAND FOR JURY TRIAL - 19
